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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

U.S. Specialty Insurance Company
                                          Plaintiff,
v.                                                          Case No.: 1:19−cv−05232
                                                            Honorable Sara L. Ellis
Village of Melrose Park, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 13, 2020:


       MINUTE entry before the Honorable Sara L. Ellis:Motion to withdraw [44] is
granted. Village Defendant's bill of costs [42] is withdrawn. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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